1. The court did not err in allowing the second amendment to the petition, nor thereafter in overruling the objections, general and special, to the petition as amended.
2. The denial of a new trial was not error.
                         DECIDED JULY 14, 1945.
During the November term, 1944, of Screven County superior court, the solicitor-general filed the following petition: "Georgia, Screven County. To the Honorable T. J. Evans, judge of the superior court of said county: Upon request, I, Fred T. Lanier, as solicitor-general of the Ogeechee Judicial Circuit, in behalf of *Page 705 
the State of Georgia, bring this suit against O. Frank Brant, of the County of Screven and respectfully show: 1. That the said Brant is an attorney at law, a member of the Sylvania Bar, solicitor of the city court of Sylvania, and a resident of the County of Screven; 2. It is alleged that said Brant has, within the past three years, been guilty of wilful misconduct in his profession as an attorney at law; 3. Petitioner attaches hereto, marked Exhibit A, and made a part of this petition, ten pages of typewritten matter setting forth in detail the specific acts making up the charges against said Brant; 4. Wherefore, petitioner prays that a rule nisi be issued requiring said Brant to appear before the court, at a time to be fixed by the court, to answer this petition, and to show cause why he should not be disbarred from the practice of his profession as an attorney at law. [Signed] Fred T. Lanier, solicitor-general of the Ogeechee Judicial Circuit, in behalf of the State of Georgia."
The rule nisi was duly issued and served upon the defendant. Thereafter, T. J. Evans, judge of said circuit, disqualified himself; and M. Price, judge of the Atlantic Circuit, presided in his place. The defendant appeared in court and filed his objections, general and special, to the petition as a whole, and to each transaction as set forth in said Exhibit A; and also filed his answer denying all the charges made in the petition. Thereafter, the petition was amended, without objection, by setting out three additional grounds. The petition was also amended as follows: "Petitioner further amends said petition by showing that said petition was instituted at the request of the judge of said court, the Hon. T. J. Evans." That amendment was objected to on the grounds that "petitioner had nothing to amend by, that this was setting up a new cause of action, and that it was making a new party to the action, to wit, Judge Evans." The objections to the amendment were overruled. The judge also overruled all of the objections, general and special, to the petition as amended; and those rulings were excepted to pendente lite, and assigned as error in the bill of exceptions.
The case proceeded to a judgment in favor of the State; the defendant's motion for a new trial was denied, and that judgment is assigned as error.
1. It is contended by counsel for Brant that the petition should have been dismissed because it was not verified by an oath. The contention is untenable since the petition was filed by the solicitor-general by the direction of the judge of the superior court of Screven County. The general objections to the petition as a whole and to each ground thereof are without merit. As to the special objections to each ground of the petition, the allegations and facts set forth in the grounds were sufficient to apprise the defendant of the nature of the charges against him, and that is all that is required in disbarment proceedings, where no formal pleading is necessary. Williford v. State, 56 Ga. App. 840
(194 S.E. 384). "The primary object of a disbarment proceeding is the protection of the courts and the public from an unfit attorney. One may be disbarred for a reason other than a statutory ground. The inherent authority of courts over the members of its bar can not be defeated by the legislative and executive departments." Payne v. State, 52 Ga. App. 425 (2) (183 S.E. 638). The court did not err in allowing the second amendment to the petition or in overruling the objections to the amended petition.
2. The evidence and portions of the defendant's statement to the court amply authorized the court to find the defendant guilty in numerous transactions set forth in the petition of wilful misconduct in his profession as an attorney at law. The judgment of the court reads: "The above-stated case coming on to be heard at this time, after evidence submitted and after argument of counsel, judgment is hereby rendered finding the defendant guilty of wilful conduct in the practice of his profession. And it is further considered, ordered, and adjudged by the court that the defendant, O. Frank Brant, be, and he is hereby, disbarred from the practice of his profession as an attorney at law, and judgment is hereby rendered against the defendant for the cost of this proceeding." It is contended by counsel for the accused in their brief that, since the court in its judgment found the defendant guilty of wilful "conduct" in the practice of his profession, his disbarment was not authorized by the evidence. The contention is without merit. The petition expressly charged that in many specific transactions the defendant had been guilty of wilful misconduct in the practice of his profession as an attorney at law, and the evidence *Page 707 
amply supported the charges, except as to two or three transactions, and the court granted a nonsuit on the counts of the petition charging those two or three transactions. The fact that the court in its judgment ordered the disbarment of thedefendant reasonably shows that it had actually found him guilty of wilful misconduct in the practice of his profession as an attorney at law, and that the failure to write "mis" before "conduct" was merely a lapsus pennae — a slip of the pen.
The court did not err in overruling the motion for a new trial containing only the general grounds.
Judgment affirmed. MacIntyre and Gardner, JJ., concur.